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 1
     LAW OFFICES OF JOHNNY L. GRIFFIN, III
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     1010 F Street, Suite 200
 3   Sacramento, CA 95814
     Telephone: (916) 444-5557
 4   Facsimile: (916) 444-5558
 5   Attorneys for Defendant
     LOUIS WAYNE FOWLER
 6

 7

 8                                   UNITED STATES DISTRICT COURT
 9                                  EASTERN DISTRICT OF CALIFORNIA
10

11   THE UNITED STATES OF AMERICA                           )   CR No. S-05-0308 EJG
                                                            )
12                     Plaintiff,                           )   STIPULATION AND ORDER TO
                                                            )   CONTINUE STATUS CONFERENCE
13            v.                                            )   AS MODIFIED
                                                            )
14                                                          )   Date: June 30, 2006
                                                            )   Time: 10:00 a.m.
15   LOUIS WAYNE FOWLER                                     )
                                                            )   Honorable Edward J. Garcia
16                                                          )
                       Defendant.
                                                            )
17                                                          )
                                                            )
18
              The United States of America, by and through Assistant U.S. Attorney William
19
     Wong, and Defendant LOUIS WAYNE FOWLER, by and through his attorney, Johnny L.
20

21
     Griffin, III, hereby agree and stipulate to continue the status conference in the above

22   captioned case from June 30, 2006 at 10:00 a.m. to August 4, 2006 at 10:00 a.m.1 In

23   addition, the parties agree and stipulate that time be excluded from June 30, 2006 to

24   August 4, 2006 pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv).

25
     1. The parties have been advised by this Court’s Clerk August 4, 2006 at 9:00 a.m. is an available date and time
     for a status conference on this matter.


     U.S. v. Fowler                                                                  Law Offices of Johnny L. Griffin III
     CR No. S-05-0308 EJG                                                                 1010 F Street, Suite 200
                                                                                          Sacramento, CA 95814
     STIPULATION AND ORDER
     Case 2:05-cr-00308-WBS Document 25 Filed 06/29/06 Page 2 of 2


 1   Dated: June 27, 2006                        Respectfully submitted,

 2                                                /s/ William Wong
                                                 WILLIAM WONG2
 3
                                                 Assistant U.S. Attorney
 4

 5   Dated: June 27, 2006                          /s/ Johnny L. Griffin, III
                                                 JOHNNY L. GRIFFIN, III
 6                                               Attorney for LOUIS WAYNE FOWLER

 7            IT IS SO ORDERED.

 8
     Dated:                                      ______________
 9                                               HON. EDWARD J. GARCIA
                                                 United States District Judge
10

11
                                                     ORDER
12
              Based on the stipulation of the parties and good cause apparent therein, the Court
13
     hereby finds that the failure to grant a continuance in this case would deny Defendant’s
14
     counsel reasonable time necessary for effective preparation, taking into account the
15
     exercise of due diligence. The Court specifically finds that the ends of justice are served by
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     the granting of such continuance and outweigh the interests of the public and the
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     Defendant in a speedy trial.
18
              Based on these findings and pursuant to the stipulation of the parties, the Court
19
     hereby adopts the stipulation of the parties in its entirety as its order.
20

21
              IT IS SO ORDERED.
22

23   Dated: _June 27, 2006_____                  _/s/ Edward J. Garcia_______________
                                                 HON. EDWARD J. GARCIA
24                                               United States District Judge
25
     2
       Assistant United States Attorney William Wong telephonically authorized attorney Johnny L. Griffin, III to sign
     this Stipulation and Order on his behalf.


     U.S. v. Fowler                                                                Law Offices of Johnny L. Griffin III
     CR No. S-05-0308 EJG                                                               1010 F Street, Suite 200
                                                                                        Sacramento, CA 95814
     STIPULATION AND ORDER
